                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                    Roanoke Division


AMERICAN NATIONAL UNIVERSITY, INC. )
                                   )
     Plaintiff,                    )
                                   )
v.                                 ) Civil Action No. 7:19-cv-00351-EKD
                                   )
AMBASSADOR COLLEGE BOOKSTORES, )
INC.                               )
                                   )
     Defendant.                    )

                                STIPULATION OF DISMISSAL

        Plaintiff American National University Inc. and Defendant Ambassador College

Bookstores, Inc., by counsel, submit this stipulation of dismissal of this action pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. The parties stipulate that this action should

be dismissed with prejudice, with each to bear its own costs and attorney’s fees.

Dated: October 22, 2019.



WE ASK FOR THIS:

/s/ Scott A. Stephenson
Paul G. Klockenbrink (VSB No. 33032)
Scott A. Stephenson (VSB No. 88020)
GENTRY LOCKE
10 Franklin Road S.E., Suite 900
Roanoke, Virginia 24011
Tel: (540) 983-9300
Fax: (540) 983-9400
Email: klockenbrink@gentrylocke.com
         stephenson@gentrylocke.com

        Counsel for Plaintiff, American National University, Inc.



                                                  1

14281/18/9061386v1
 Case 7:19-cv-00351-EKD Document 33 Filed 10/22/19 Page 1 of 2 Pageid#: 223
/s/ Paul C. Kuhnel
Paul C. Kuhnel (VSB No. 28151)
LEWIS BRISBOIS
310 First Street, Suite 405
Roanoke, Virginia 24011
Tel: (540) 283-0130
Fax: (540) 283-0044
Email: paul.kuhnel@lewisbrisbois.com

        Counsel for Defendant, Ambassador College Bookstores, Inc.




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of October, 2019, I electronically filed the foregoing

with the Clerk of the Court using CM/ECF system, which will send notification of such filing to

all counsel of record.

                                      By: /s/ Scott A. Stephenson




                                                 2

14281/18/9061386v1
 Case 7:19-cv-00351-EKD Document 33 Filed 10/22/19 Page 2 of 2 Pageid#: 224
